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7/3/2012 Order Granting Motion to Detain

                                           UNITED STATES DISTRICT COURT
                                            WESTERN DISTRICT OF TEXAS
                                               SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                                    §
                                                            §
vs.                                                         §     NO: SA:19-M -00555(1)
                                                            §
(1) RODRIGO CORTES-GUTIERREZ                                §


                                       ORDER GRANTING MOTION TO DETAIN


         The government has moved to detain the defendant without bond pending trial, pursuant to 18

U.S.C. § 3142(f). The defendant has filed a Waiver of Detention Hearing, in which the defendant

acknowledged the right to a detention hearing, and waived that hearing and the right to contest the

government’s motion to detain.                  The Court hereby accepts the defendant’s waiver, subject to

reconsideration at a later date if appropriate. See United States v. Clark, 865 F.2d 1433, 1437 (4th Cir.

1989) (en banc) (waiver of detention hearing “is not an absolute, final relinquishment of all rights under

the Bail Reform Act”); cf. 18 U.S.C. § 3142(f) (detention hearing may be reopened “if the judicial officer

finds that information exists which was not known to the movant at the time of the hearing and has a

material bearing on the issue” of detention or release).

          Accordingly, it is ORDERED that:

          (1)        The government's motion to detain is GRANTED.

          (2)        Defendant is detained without bond pending trial.

          (3)        Defendant is committed to the custody of the Attorney General for confinement in a
                     corrections facility seperate, to the extent practicable, from persons awaiting or serving
                     sentences or being held in custody pending appeal.

          (4)        Defendant shall be afforded reasonable opportunity for private consultation with counsel.
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(5)     On order of a Court of the United States or on request of an attorney for the government,
        the person in charge of the corrections facility in which the defendant is confined must
        deliver the defendant to a United States marshal for the purpose of an appearance in
        connection with any court proceeding.


       SIGNED this 30th day of May, 2019.




                                            ______________________________
                                            RICHARD B. FARRER
                                            UNITED STATES MAGISTRATE JUDGE
